          Case 2:25-cv-00848-TL     Document 5    Filed 05/07/25    Page 1 of 30




 1

 2

 3

 4

 5

 6
                        UNITED STATES DISTRICT COURT
 7                     WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
 8
     STATE OF WASHINGTON, et al.,                NO. 2:25-CV-00848
 9
                        PLAINTIFFS,              PLAINTIFFS’ MOTION FOR
10                                               PRELIMINARY INJUNCTION
          v.
11                                               NOTE ON MOTION CALENDAR:
     U.S. DEPARTMENT OF                          JUNE 4, 2025
12   TRANSPORTATION, et al.,
                                                 ORAL ARGUMENT
13                      DEFENDANTS.              REQUESTED
14

15

16

17

18

19

20

21

22

23

24

25

26


      PLAINTIFFS’ MOTION FOR                                ATTORNEY GENERAL OF WASHINGTON
                                                                Environmental Protection Division
      PRELIMINARY INJUNCTION                                      800 Fifth Avenue STE 2000
      -- No. 2:25-CV-00848                                             Seattle, WA 98104
                                                                        (206) 464-7744
             Case 2:25-cv-00848-TL                       Document 5                Filed 05/07/25                Page 2 of 30




 1                                                   TABLE OF CONTENTS
 2   I.      INTRODUCTION............................................................................................................. 1
 3   II.     BACKGROUND............................................................................................................... 2
 4           A. Congress Mandated FHWA to Distribute NEVI Formula Program Funds to
                States for Strategic Deployment of Electric Vehicle Charging Infrastructure .......... 2
 5
             B. Consistent with the Statute, States Submitted Implementation Plans, Entitling
 6              Them to Apportioned Funds ...................................................................................... 3
 7           C. President Trump Directed Elimination of an “Electric Vehicle Mandate” and
                an Immediate Pause on Disbursement of NEVI Formula Program Funds ................ 6
 8
             D. FHWA Abruptly Revoked All State Implementation Plan Approvals and Is
 9              Categorically Withholding NEVI Formula Program Funds ...................................... 6
10           E. Defendants’ Actions Have Caused, and Will Continue to Cause, Irreparable
                Harm to Plaintiff States.............................................................................................. 7
11
     III.    LEGAL STANDARD ....................................................................................................... 8
12
     IV.     ARGUMENT .................................................................................................................... 8
13
             A. Plaintiffs Are Likely to Succeed on the Merits.......................................................... 8
14
                   1.     Defendants took final agency action .................................................................. 9
15
                   2.     Defendants’ actions were in excess of statutory authority and contrary to
16                        law .................................................................................................................... 10
17                 3.     Defendants’ actions were arbitrary and capricious .......................................... 12
18                 4.     Defendants acted “without observance of procedure required by law” ........... 15
19                 5.     Defendants’ failure to follow the IIJA’s statutory mandate violates the
                          separation of powers......................................................................................... 15
20
             B. Plaintiff States Face Irreparable Harm Absent a Preliminary Injunction ................ 17
21
                   1.     Harm to Plaintiff States’ EV Infrastructure Programs ..................................... 18
22
                   2.     Increased administrative burden to states......................................................... 21
23
             C. The Balance of Equities and Public Interest Factors Strongly Favor Entry of a
24              Preliminary Injunction ............................................................................................. 22
25           D. Plaintiff States Are Entitled to Preliminary Relief .................................................. 25
26   V.      CONCLUSION ............................................................................................................... 25


          PLAINTIFFS’ MOTION FOR                                              i                       ATTORNEY GENERAL OF WASHINGTON
                                                                                                          Environmental Protection Division
          PRELIMINARY INJUNCTION                                                                            800 Fifth Avenue STE 2000
          -- No. 2:25-CV-00848                                                                                   Seattle, WA 98104
                                                                                                                  (206) 464-7744
            Case 2:25-cv-00848-TL            Document 5      Filed 05/07/25      Page 3 of 30




 1                                      I.      INTRODUCTION
 2          In 2021, Congress passed the Infrastructure Investment and Jobs Act (“IIJA”), a

 3   bipartisan law enacted to provide historic investments in a broad swath of infrastructure

 4   projects, including broadband, rail and transit, clean energy, and water. Through the IIJA,

 5   Congress created the National Electric Vehicle Infrastructure (“NEVI”) Formula Program.

 6   The Program distributes $5 billion in critical funding to States to build electric vehicle

 7   charging infrastructure that improves the reliability and accessibility of electric vehicles.

 8   Importantly, Congress did not commit the funding for this Program to Executive Branch

 9   discretion; rather, it mandated that NEVI Formula Program funds be apportioned to States

10   according to a statutory formula. But the Federal Highway Administration (“FHWA”) now

11   refuses to comply with the law. FHWA abruptly halted the Program and is withholding these

12   funds. FHWA took this unlawful action because the President issued an executive order

13   mandating all federal agencies to “immediately pause the disbursement of funds appropriated

14   through . . . the Infrastructure Investment and Jobs Act . . . including but not limited to funds

15   for electric vehicle charging stations made available through the National Electric Vehicle

16   Infrastructure [NEVI] Formula Program.” Exec. Order No. 14,154, Unleashing American

17   Energy, 90 Fed. Reg. 8353, 8357 (Jan. 29, 2025).

18          On February 6, 2025, FHWA told States it had categorically halted the NEVI

19   Formula Program. FHWA declared it had rescinded all NEVI Formula Program Guidance

20   and immediately and unilaterally revoked its approval of all State Plans, which the IIJA

21   requires States to submit to access their dedicated shares of NEVI funds. Finally, FHWA

22   announced it was categorically withholding billions of dollars of congressionally mandated

23   funding from the States, stating that “effective immediately, no new obligations may occur

24   under the NEVI Formula Program until [] updated final NEVI Formula Program Guidance is

25   issued and new State [P]lans are submitted and approved.” Through these actions, FHWA

26   has functionally abrogated the NEVI Formula Program by executive fiat.


       PLAINTIFFS’ MOTION FOR                            1               ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
            Case 2:25-cv-00848-TL          Document 5        Filed 05/07/25      Page 4 of 30




 1          The Court should grant a preliminary injunction to enjoin Defendants’ unlawful
 2   actions and restore the NEVI Formula Program. The IIJA imposes clear, mandatory
 3   commands to provide NEVI funds to the States, does not authorize the categorical revocation
 4   of State Plans, and strictly limits the withholding of NEVI funds to narrow circumstances not
 5   applicable here. Defendants’ actions to implement the President’s anti-NEVI directive are
 6   thus unlawful under the Administrative Procedure Act because they are contrary to law and
 7   arbitrary and capricious, and Defendants failed to follow required procedure. For similar
 8   reasons, Defendants also violated the Constitution’s separation of powers principles. Because
 9   Defendants’ withholding of billions of dollars has arrested Plaintiff States’ NEVI funded
10   infrastructure programs mid-stream—halting everything from awarding and contracting
11   processes to project construction—Plaintiff States will suffer irreparable harm in the absence
12   of preliminary injunctive relief. Finally, the public interest suffers greatly from the delay or
13   cancellation of these electric vehicle infrastructure projects, while Defendants suffer no harm
14   from executing the precise instructions Congress imposed in the IIJA.
15                                       II.     BACKGROUND
16   A.     Congress Mandated FHWA to Distribute NEVI Formula Program Funds to States
            for Strategic Deployment of Electric Vehicle Charging Infrastructure
17
            On November 15, 2021, then President Biden signed into law the Bipartisan
18
     Infrastructure Law, enacted as the Infrastructure Investment and Jobs Act. Pub. L. No. 117-58,
19
     135 Stat. 429 (2021). In the IIJA, Congress established the NEVI Formula Program and
20
     appropriated $5 billion to provide “funding to the States to strategically deploy electric vehicle
21
     charging infrastructure and to establish an interconnected network to facilitate data collection,
22
     access, and reliability.” 135 Stat. at 1421. Congress instructed federal officials to provide
23
     NEVI funds to States according to a specific statutory formula—the same federal formula used
24
     to distribute highway funds. Id. at 1422.
25

26


       PLAINTIFFS’ MOTION FOR                            2               ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
            Case 2:25-cv-00848-TL          Document 5        Filed 05/07/25       Page 5 of 30




 1          The IIJA directs how States must use their NEVI funds. After pre-apportionment set-
 2   asides for administration and an additional grant program, the NEVI funds apportioned to
 3   States “shall be used for: (1) the acquisition and installation of electric vehicle charging
 4   infrastructure to serve as a catalyst for the deployment of such infrastructure and to connect it
 5   to a network to facilitate data collection, access, and reliability; (2) proper operation and
 6   maintenance of electric vehicle charging infrastructure; and (3) data sharing about electric
 7   vehicle charging infrastructure to ensure the long-term success of investments made under [the
 8   NEVI Formula Program provisions of the IIJA].” Id. at 1421-22; see also id. at 1425
 9   (discussing set-asides). Distribution of NEVI funds is not discretionary: The Secretary of
10   Transportation (“Secretary”) “shall distribute among the States the [NEVI Formula Program
11   funds] so that each State receives” the amount determined by the formula. Id. at 1422
12   (emphasis added).
13          The IIJA also specifies how NEVI funds must be administered. Within 90 days of the
14   statute’s enactment, and in coordination with the Secretary of Energy, the Secretary was
15   required to develop “guidance for States and localities to strategically deploy electric vehicle
16   charging infrastructure” consistent with the NEVI Formula Program provisions of the IIJA”
17   (“NEVI Formula Program Guidance”). Id. at. 1423. FHWA issued NEVI Formula Program
18   Guidance on February 10, 2022, and has updated the Guidance annually.
19   B.     Consistent with the Statute, States Submitted Implementation Plans, Entitling
            Them to Apportioned Funds
20
            Congress established a single prerequisite for States to receive their share of the NEVI
21
     funding appropriated by Congress: Each State must provide a State Electric Vehicle
22
     Infrastructure Deployment Plan (“State Plan”), by a deadline established by the Secretary,
23
     describing how the State “intends to use funds distributed to the State . . . to carry out the
24
     [NEVI Formula] Program for each fiscal year in which funds are made available.” Id. at. 1422.
25
     Beginning in 2022, after reviewing State Plans, FHWA notified States by letter that its Plan
26


       PLAINTIFFS’ MOTION FOR                            3                ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL                Document 5         Filed 05/07/25    Page 6 of 30




 1   was approved and its share of funds for the fiscal year(s) covered by the Plan are available for
 2   obligation. See, e.g., Meredith Decl. ¶¶24-25 & Exs. 4-6.
 3          “Obligation” refers to a “definite commitment that creates a legal liability of the
 4   government for the payment of goods and services ordered or received, or a legal duty on the
 5   part of the United States that could mature into” such a liability. See U.S. Gov’t Accountability
 6   Off., A Glossary of Terms Used in the Federal Budget Process, GAO-05-734SP, at 70 (Sept.
 7   2005).1 An “expenditure” or “disbursement” is the actual spending of federal funds. Id. at 45,
 8   48. States obligate their share of apportioned NEVI funds by submitting an authorization
 9   request for specific activities. So long as the proposed activities meet minimum standards for
10   NEVI funded projects and other applicable regulatory standards for federal-aid highway
11   projects, FHWA must approve States’ requests for authorization. See 23 C.F.R. § 635.309; 23
12   C.F.R. Part 680. Upon FHWA authorization, NEVI funds are obligated for those activities.
13   When the State submits to FHWA expenses incurred for those activities, it can draw down the
14   obligated funds, which are then disbursed into State accounts.
15          Consistent with the IIJA, the deadlines established by the Secretary, and the NEVI
16   Formula Program Guidance, Plaintiff States prepared and submitted to FHWA State Plans
17   describing how they intended to use their share of funds to carry out the NEVI Formula
18   Program. See Collins-Worachek Decl. ¶9; de Alba Decl. ¶7; Hastings Decl. ¶9; Irvin Decl. ¶9;
19   Kearns Decl. ¶¶13-15; Kelly Decl. ¶¶7, 9; Meredith Decl. ¶¶22-23; Nelson Decl. ¶13; Patel
20   Decl. ¶8; Pietz Decl. ¶¶9-10; Pines Decl. ¶10; Shishido Decl. ¶9; Valdez Decl. ¶8; Ward Decl.
21   ¶9. FHWA’s approval letters explicitly stated that “[w]ith this approval, Fiscal Year . . . funds
22   are now available to [each State] for obligation.” Collins-Worachek Decl. ¶10; de Alba Decl.
23   Exh. 2; Hastings Decl. ¶10; Irvin Decl. ¶10; Kearns Decl. ¶16; Meredith ¶25; Nelson Decl.
24   ¶15; Patel Decl. ¶9; Pietz Decl. ¶11; Pines Decl. ¶12; Shishido Decl. ¶10; Valdez Decl. ¶9;
25   Ward Decl. ¶10.
26          1
                Available at https://www.gao.gov/assets/gao-05-734sp.pdf.


       PLAINTIFFS’ MOTION FOR                                  4             ATTORNEY GENERAL OF WASHINGTON
                                                                                 Environmental Protection Division
       PRELIMINARY INJUNCTION                                                      800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                            Seattle, WA 98104
                                                                                         (206) 464-7744
            Case 2:25-cv-00848-TL          Document 5        Filed 05/07/25       Page 7 of 30




 1          Defendants’ ability to withhold or withdraw NEVI funds from States is expressly
 2   limited by statute. Under the IIJA, the Secretary must distribute to each State its apportioned
 3   share of funds unless the State fails to timely submit a State Plan or the Secretary “determines
 4   a State has not taken action to carry out its [P]lan.” 135 Stat. at 1422.
 5          In addition to these clear substantive limitations, Congress also imposed strict
 6   procedural requirements the Secretary must follow before withholding or withdrawing a
 7   State’s funds: “[P]rior to the Secretary making a determination that a State has not taken
 8   actions to carry out its [P]lan, the Secretary shall notify the State, consult with the State, and
 9   identify actions that can be taken to rectify concerns, and provide at least 90 days for the State
10   to rectify concerns and take action to carry out its [P]lan.” Id. Even then, the Secretary is
11   required to give additional notice and an opportunity to be heard before withholding or
12   withdrawing any funds: “[T]he Secretary shall provide notice to a State on the intent to
13   withhold or withdraw funds not less than 60 days before withholding or withdrawing any
14   funds, during which time the States shall have an opportunity to appeal a decision to withhold
15   or withdraw funds directly to the Secretary.” Id.
16          To further cement that NEVI funds must be distributed to the States for building
17   electric vehicle (“EV”) charging infrastructure, the IIJA expressly mandates an alternative path
18   for distributing funds lawfully withheld or withdrawn from a State in a given fiscal year. In
19   that instance, the Secretary will “award such funds on a competitive basis to local jurisdictions
20   within the State for use on projects that meet the eligibility requirements.” Id. If the Secretary
21   cannot fully award these funds to local jurisdictions within the State, “any such funds
22   remaining shall be distributed among other States . . . in the same manner as funds distributed
23   for that fiscal year.” Id. at 1422-23 (emphasis added).
24          Thus, if State submits Plan(s) by the deadline, FHWA must provide that State with its
25   share of NEVI funding unless the State fails to take action to carry out its Plan and the
26   Secretary follows the statutorily defined procedural requirements to provide the State multiple


       PLAINTIFFS’ MOTION FOR                            5                ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
            Case 2:25-cv-00848-TL           Document 5       Filed 05/07/25       Page 8 of 30




 1   notices, a chance to cure deficiencies, and an opportunity to appeal prior to any redistribution
 2   of the funds. Even then, FHWA must redistribute the apportioned funds to be used for NEVI
 3   Formula Program purposes.
 4   C.     President Trump Directed Elimination of an “Electric Vehicle Mandate” and an
            Immediate Pause on Disbursement of NEVI Formula Program Funds
 5
            The NEVI Formula Program was enacted by Congress and implemented for several
 6
     years in partnership with the States. But hours after being sworn in on January 20, 2025,
 7
     President Trump issued an executive order entitled Unleashing American Energy directing
 8
     agencies to undo the Program. See Exec. Order No. 14,154, 90 Fed. Reg. 8353. In the
 9
     Executive Order, the President declared it “the policy of the United States” to “eliminate the
10
     ‘electric vehicle (EV) mandate’ and promote true consumer choice,” by, among other things,
11
     “considering the elimination of unfair subsidies and other ill-conceived government-imposed
12
     market distortions that favor EVs over other technologies and effectively mandate their
13
     purchase by individuals, private businesses, and government entities alike by rendering other
14
     types of vehicles unaffordable.” Id.
15
            To “[t]erminat[e] the Green New Deal” and effectuate his own policy priorities, the
16
     President ordered all agencies to “immediately pause the disbursement of funds appropriated
17
     through the . . . [IIJA], including but not limited to funds for electric vehicle charging stations
18
     made available through the [NEVI] Formula Program.” Id. at 8357.
19
            The Executive Order makes clear that the President directed agencies to unilaterally
20
     and categorically “pause” disbursement of funds duly appropriated by Congress to terminate
21
     statutory programs that the President regards as bad policy.
22
     D.     FHWA Abruptly Revoked All State Implementation Plan Approvals and Is
23          Categorically Withholding NEVI Formula Program Funds
24          Consistent with the President’s directive to illegally withhold NEVI funds, FHWA sent
25   a letter to the States on February 6, 2025, notifying them it had taken three actions to
26   categorically “suspend” the NEVI Formula Program. Brown Decl., Exh. 1 (“FHWA Letter”).


       PLAINTIFFS’ MOTION FOR                            6                ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
             Case 2:25-cv-00848-TL              Document 5           Filed 05/07/25         Page 9 of 30




 1   First, the Agency announced it had rescinded all versions of statutorily required NEVI Formula
 2   Program Guidance. Second, with no advance notice, FHWA revoked all State Plan approvals.
 3   Third, FHWA would make no new obligations of NEVI funds. FHWA Letter at 1-2.
 4            The sole rationale FHWA gave for withholding Program funds was its categorical,
 5   retroactive revocation of State Plans, which itself was predicated only on FHWA’s rescission
 6   of the NEVI Formula Program Guidance. The only rationale FHWA gave for rescinding the
 7   NEVI Formula Program Guidance was that the “new leadership” at the U.S. Department of
 8   Transportation had “decided to review the policies underlying the NEVI Formula Program.”
 9   FHWA Letter at 1-2. The FHWA Letter further stated that “FHWA is updating the NEVI
10   Formula Program Guidance to align with current U.S. DOT policy and priorities, including
11   those set forth in DOT Order 2100.7.” Id.2
12            FWHA’s action had the effect of eliminating States’ access to NEVI funds that were
13   available for obligation, functionally abrogating the congressionally mandated NEVI Formula
14   Program. Since FHWA issued the Notice, Plaintiff States have been unable to obligate new
15   NEVI funds, even for projects in previously approved State Plans. Collins-Worachek Decl.
16   ¶¶19-20; de Alba Decl. ¶¶22-23; Hastings Decl. ¶18; Kearns Decl. ¶¶18, 25; Kelly Decl. ¶¶11-
17   13, 16; Lam Decl. ¶¶11-13; Meredith Decl. ¶36; Nelson Decl. ¶23; Patel Decl. ¶19; Pietz Decl.
18   ¶26-31; Pines Decl. ¶¶21-22; Ruder Decl. ¶11; Valdez Decl. ¶18; Ward Decl. ¶19. FHWA
19   confirmed this effect, informing California on March 31, 2025, that “[a]s a result of the
20   February 6th [FHWA Letter],” “no funds are available for obligation.” Lam Decl. ¶¶11
21   E.       Defendants’ Actions Have Caused, and Will Continue to Cause, Irreparable Harm
              to Plaintiff States
22
              As further detailed in Section IV. B, infra, and in the accompanying Declarations,
23
     Defendants’ abrupt and unlawful revocation of all State Plans and withholding of statutorily
24
              2
25              DOT 2100.7, Ensuring Reliance Upon Sound Economic Analysis in Department of Transportation
     Policies, Programs, and Activities, “updates and resets the principles and standards underpinning U.S. [DOT]
     policies, programs, and activities to mandate reliance on rigorous economic analysis and positive cost-benefit
26   calculations.” Exh. 2.


       PLAINTIFFS’ MOTION FOR                                    7                 ATTORNEY GENERAL OF WASHINGTON
                                                                                       Environmental Protection Division
       PRELIMINARY INJUNCTION                                                            800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                                  Seattle, WA 98104
                                                                                               (206) 464-7744
           Case 2:25-cv-00848-TL           Document 5         Filed 05/07/25       Page 10 of 30




 1   appropriated and apportioned funds has harmed and will continue to harm Plaintiff States and
 2   their residents. Defendants’ actions have caused disruptions to State NEVI implementation
 3   programs; delays in construction of infrastructure necessary to promote wider adoption of EVs
 4   and to achieve state air quality and climate emissions reductions goals; impacts on budgeting,
 5   contracting, and future project deployment caused by uncertainty in federal funding for these
 6   projects; and unnecessary costs and staff time to develop new State Plans after investing
 7   significant time and resources to develop the previously approved Plans.
 8                                     III.     LEGAL STANDARD
 9           A plaintiff seeking a preliminary injunction must establish: (1) a likelihood of success
10   on the merits; (2) irreparable harm in the absence of relief; (3) that the balance of equities
11   tips in the movant’s favor; and (4) that granting relief is in the public interest. Winter v. Nat.
12   Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The final two factors—the balance of equities
13   and the public interest—merge when a government entity is a party to a case in which a
14   preliminary injunction is sought. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th
15   Cir. 2014) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). The Ninth Circuit has also
16   adopted a “‘sliding scale’ variant of the Winter test,” Flathead-Lolo-Bitterroot Citizen Task
17   Force v. Montana, 98 F.4th 1180, 1190 (9th Cir. 2024), that requires “a lesser showing than
18   likelihood of success on the merits” if the equities tip sharply in the plaintiffs’ favor. All. for
19   the Wild Rockies v. Pena, 865 F.3d 1211, 1217 (9th Cir. 2017).
20                                            IV.   ARGUMENT
21   A.      Plaintiffs Are Likely to Succeed on the Merits
22           Plaintiff States have a strong likelihood of success on the merits. As detailed below,
23   Defendants’ actions to revoke State Plans and withhold appropriated NEVI funds violate the
24   Administrative Procedure Act (“APA”) and separation of powers principles.
25           1.      Defendants took final agency action
26           The APA permits judicial review of “final agency action.” 5 U.S.C. § 704. Here,


       PLAINTIFFS’ MOTION FOR                             8                ATTORNEY GENERAL OF WASHINGTON
                                                                               Environmental Protection Division
       PRELIMINARY INJUNCTION                                                    800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                          Seattle, WA 98104
                                                                                       (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5         Filed 05/07/25       Page 11 of 30




 1   Defendants’ action to “suspend” the NEVI Formula Program, as announced in the FHWA
 2   Letter, and the specific individual actions detailed in the Letter to revoke all State Plans for
 3   all fiscal years and to categorically withhold NEVI funds were final agency actions. These
 4   actions marked “the ‘consummation’ of the agency’s decisionmaking process”—any
 5   solicitation of new State Plans or decision to release funds would require separate action and
 6   a reversal of Defendants’ current policy. See Bennett v. Spear, 520 U.S. 154, 178 (1997)
 7   (citations omitted); see, e.g., Pacito v. Trump, No. 2:25-CV-255-JNW, 2025 WL 655075, at
 8   *16 (W.D. Wash. Feb. 28, 2025) (determining agency suspension of statutory refugee
 9   program was a final agency action); Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget,
10   No. 25-239 (LLA), 2025 WL 368852, at *11 (D.D.C. Feb. 3, 2025) (finding agency memo
11   directing withholding of funds was a final agency action). Defendants have admitted that
12   their actions also determined “rights or obligations” or were actions “from which ‘legal
13   consequences’” flowed. Bennett, 540 U.S. at 178. (citations omitted). For example, FHWA
14   informed California that “[a]s a result of the February 6th [FHWA Letter],” “no funds are
15   available for obligation.” Lam Decl. ¶11. Similarly, following the FHWA Letter, Colorado
16   has been unable to access its unobligated NEVI funds, with attempts to request additional
17   obligations generating a notice of “expired appropriated authority program code(s).” Kelly
18   Decl. ¶16. Consequently, the actions Defendants announced on February 6 have “a direct and
19   immediate effect on the day-to-day operations” of Plaintiff States. Or. Nat. Desert Ass’n v.
20   U.S. Forest Serv., 465 F.3d 977, 982 (9th Cir. 2006) (citations omitted).
21          Moreover, Defendants’ actions are not part of the narrow class of agency actions that
22   are “committed to agency discretion by law” and unreviewable in federal court. See 5 U.S.C.
23   § 701(a)(2). Where, as here, there are applicable statutory or regulatory standards that cabin
24   agency discretion, there are “meaningful standard[s] by which to judge the [agency]’s
25   action,” and the actions are reviewable. Dep’t of Com. v. New York, 588 U.S. 752, 772
26   (2019). Whether Defendants had statutory or constitutional authority to suspend the NEVI


       PLAINTIFFS’ MOTION FOR                            9                ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25     Page 12 of 30




 1   Formula Program, revoke all approved State Plans, and withhold NEVI funds is exactly the
 2   type of statutory and constitutional question federal courts regularly address.
 3          2.      Defendants’ actions were in excess of statutory authority and contrary to law
 4          By unilaterally revoking all State Plans and withholding congressionally appropriated
 5   funding, Defendants acted in excess of statutory authority and contrary to the IIJA.
 6   “Administrative agencies are creatures of statute. They accordingly possess only the authority
 7   that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., Occupational Safety
 8   & Health Admin., 595 U.S. 109, 117 (2022). Under the APA, a court “shall . . . hold unlawful
 9   and set aside agency action, findings, and conclusions found to be . . . in excess of statutory
10   jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C). The
11   APA further prohibits agency action “not in accordance with law.” Id. § 706(2)(A).
12          Congress mandated in the IIJA that $5 billion “shall be to carry out” the NEVI Formula
13   Program, and that the funds be apportioned according to a statutory formula. 135 Stat. at 1421-
14   22 (emphasis added). Congress limited Executive discretion by providing that the Secretary of
15   Transportation “shall distribute among the States the [NEVI funds] so that each State
16   receives” the amount determined by the formula. Id. at 1422 (emphasis added). Indeed,
17   Congress expressly restricted Defendants’ ability to “withhold or withdraw” funding to two
18   narrow circumstances, neither of which apply here. See id. Given the IIJA’s carefully
19   circumscribed statutory scheme, Defendants lack the authority to categorically “withhold or
20   withdraw” NEVI funds for reasons not enumerated in the statute.
21          Similarly, Defendants lack authority to take post hoc actions revoking State Plans.
22   Congress established a single prerequisite for a State to receive its NEVI funding: Each State
23   must timely submit a State Plan “describing how such State intends to use funds distributed to
24   the State . . . to carry out the [NEVI Formula] Program for each fiscal year in which funds are
25   made available.” Id. at 1422. Outside the designation of national EV charging corridors, the
26   IIJA essentially limits Defendants’ role in States’ planning processes to informational and


       PLAINTIFFS’ MOTION FOR                            10              ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
           Case 2:25-cv-00848-TL           Document 5          Filed 05/07/25      Page 13 of 30




 1   ministerial functions and provides no authority to Defendants to revoke State Plans once they
 2   are approved. Id. at 1422-25. Specifically, the IIJA instructs the Secretary to establish a
 3   deadline for State Plan submittals for each fiscal year. Id. at 1422. Upon receipt of the Plans,
 4   the Secretary must post and submit to Congress “a report summarizing each [P]lan
 5   submitted . . . and an assessment of how such [P]lans make progress towards the establishment
 6   of a national network of electric vehicle charging infrastructure.” Id. Here, Plaintiff States each
 7   submitted Plans by the deadline established by the Secretary. See supra, Section II.B. Nothing
 8   in the IIJA authorizes Defendants to revoke State Plans once they are submitted and finalized,
 9   much less to do so unilaterally, categorically, and retroactively.
10           Defendants’ actions are also contrary to the IIJA and in excess of statutory authority
11   because they contravene the very congressional purposes set forth therein. Congress stated in
12   the IIJA that it intended “to provide funding to States to strategically deploy electric vehicle
13   charging infrastructure and to establish an interconnected network to facilitate data collection,
14   access, and reliability.” Id. at 1421. Even in the limited circumstances where a State’s funding
15   is lawfully withdrawn or withheld, Congress requires the Secretary to redistribute those funds
16   to local jurisdictions within that State, or to other States, for the same fiscal year, and for the
17   same purpose of building out EV charging infrastructure. Id. at 1422-23. Thus, the IIJA
18   evinces an intent for States to spend congressionally appropriated NEVI funding for this
19   purpose. Withholding NEVI funds necessarily frustrates this congressional purpose. See New
20   York v. Trump, No. 25-CV-39-JJM-PAS, 2025 WL 715621, at *1 (D.R.I. Mar. 6, 2025), stay
21   pending appeal denied, 133 F.4th 51 (1st Cir. Mar. 26, 2025) (“Federal agencies and
22   departments can spend, award, or suspend money based only on the power Congress has given
23   to them—they have no other spending power.”).
24           By categorically withholding congressionally appropriated NEVI funds and revoking
25   all State Plans for all fiscal years, Defendants’ contravened the terms and purposes of the IIJA
26   and their actions should be enjoined as unlawful under the APA.


       PLAINTIFFS’ MOTION FOR                             11               ATTORNEY GENERAL OF WASHINGTON
                                                                               Environmental Protection Division
       PRELIMINARY INJUNCTION                                                    800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                          Seattle, WA 98104
                                                                                       (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25     Page 14 of 30




 1          3.      Defendants’ actions were arbitrary and capricious
 2          Plaintiff States are also likely to succeed on their claim that Defendants’ actions

 3   announced in the FHWA Letter are arbitrary and capricious. An agency action is “arbitrary and

 4   capricious” where “the agency has relied on factors which Congress has not intended it to

 5   consider, entirely failed to consider an important aspect of the problem, offered an explanation

 6   for its decision that runs counter to the evidence before the agency, or is so implausible that it

 7   could not be ascribed to a difference in view or the product of agency expertise.” Motor

 8   Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

 9   Courts across the country have determined that actions to withhold funds in violation of a

10   statutory directive are arbitrary and capricious, particularly where federal defendants acted

11   abruptly and categorically without providing a reasoned explanation or considering reliance

12   interests. E.g., Nat’l Council of Nonprofits, 2025 WL 368852, at *11; AIDS Vaccine Advoc.

13   Coal. v. United States Dep’t of State, No. 25-00400, 2025 WL 485324, at *5 (D.D.C. Feb. 13,

14   2025); Pacito, 2025 WL 655075, at *20-21; New York v. Trump, 2025 WL 715621, at *12.

15          First, Defendants’ actions announced in the FHWA Letter are arbitrary and capricious

16   because they are not “reasonable and reasonably explained.” Fed. Commc’ns Comm’n v.

17   Prometheus Radio Project, 592 U.S. 414, 423 (2021). Courts must ensure that the agency has

18   “examine[d] the relevant data and articulate[d] a satisfactory explanation for its action[,]

19   including ‘a rational connection between the facts found and the choice made.’” State Farm,

20   463 U.S. at 43 (citations omitted). Defendants have failed to articulate any satisfactory

21   explanation for their decision to revoke State Plans and withhold NEVI funds.

22          The FHWA Letter provided no explanation for revoking State Plans or withholding

23   funds other than a desire to “review the policies underlying implementation of the NEVI

24   Formula Program,” and conform the NEVI Formula Program Guidance to Trump

25   Administration “policy and priorities.” FHWA Letter at 1-2. There is no discussion of policies

26   within the FHWA Letter itself, and no explanation for how such policies could be relevant to


       PLAINTIFFS’ MOTION FOR                            12              ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5         Filed 05/07/25      Page 15 of 30




 1   implementing a formula funding program that Congress established for a very specific purpose
 2   and subject to precise directives. Changed Executive Branch priorities cannot alter the Federal-
 3   aid highway formula that determines States’ apportionments, see 135 Stat. at 1422; nor can
 4   changed priorities provide any grounds to withdraw funds from States, see id. Defendants’
 5   explanation that they plan to update the Guidance to “align” with “policy and priorities,
 6   including those set forth in DOT Order 2100.7” thus does not constitute a reasoned explanation
 7   for the revocation of State Plans and the withholding of funds. Indeed, DOT Order 2100.7 lays
 8   out no principle intended by Congress for the Secretary to consider in administering the NEVI
 9   Formula Program. See Brown Decl., Exh. 2. And no principle set forth in DOT Order 2100.7
10   can override the text of the IIJA, which substantially limits the Secretary’s discretion under the
11   Program.
12          Second, Defendants failed to consider the effects of their abrupt change in policy on
13   Plaintiff States. Where an agency changes its policy, it bears the burden to “show that there are
14   good reasons for the new policy.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515
15   (2009). And where an agency action rescinds a prior policy, the agency must show
16   consideration of “serious reliance interests.” Id.; see also DHS v. Regents of Univ. of Cal., 591
17   U.S. 1, 30 (2020) (longstanding policies may engender serious reliance interests that must be
18   considered). Congressionally appropriated funding programs can engender reliance interests
19   and agencies must consider those interests when suspending funds. See, e.g., AIDS Vaccine
20   Advocacy Coal., 2025 WL 485324 at *5 (agency failed to consider and had no rational reason
21   to disregard reliance interests of businesses that would have to shutter programs due to funding
22   suspension). Here, Defendants plainly changed their policy—from one that comported with the
23   IIJA’s statutory requirements and disbursed money according to the predetermined formula for
24   predetermined purposes, to one that disregards that law to obstruct investment in EV
25   infrastructure that the Administration disfavors. In enacting this change, Defendants did not
26   consider Plaintiff States’ serious reliance interests in receiving funding according to the


       PLAINTIFFS’ MOTION FOR                           13               ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5         Filed 05/07/25      Page 16 of 30




 1   formula and timeline Congress mandated. It is critical for Plaintiff States that federal funds
 2   remain available as promised. The uncertainty sown by Defendants’ actions chills industry
 3   participation in the NEVI Formula Program and makes it harder for Plaintiff States to
 4   successfully implement their State Plans. See infra, Section IV.B. Defendants’ failure to
 5   explain their change in position and to consider serious reliance interests makes their action
 6   arbitrary and capricious.
 7          Third, Defendants relied on factors that Congress did not intend them to consider. State
 8   Farm, 463 U.S. at 43. The FHWA Letter revokes State Plans and categorically withholds funds
 9   on the basis that the NEVI Formula Guidance will be updated to account for new “policy and
10   priorities.” FHWA Letter at 2. But the IIJA sets out specific, limited circumstances where
11   NEVI formula-apportioned funds may be withheld. 135 Stat. at 1422. Congress did not include
12   rescission of Guidance for policy reasons as a legitimate basis to revoke State Plans or
13   withhold funds.
14          Furthermore, Congress did not intend for Defendants to consider the policies set out in
15   DOT Order 2100.7 even for the limited purpose of updating NEVI Formula Program
16   Guidance. The IIJA requires Guidance to be developed no later than 90 days after enactment of
17   the Act and specifies that certain factors “shall” be considered in developing the Guidance. Id.
18   at 1423. Although the Secretary may come up with “other factors” to be considered, the
19   Guidance’s purpose is to help States and localities “strategically deploy electric vehicle
20   charging infrastructure, consistent with this paragraph in this Act.” Id. In other words, the
21   Guidance is in service of the NEVI Formula Program’s purpose and the specific uses for which
22   Congress made funds available. In addition, the “other factors” that can influence the Guidance
23   follow more specific terms. “Under the principle of ejusdem generis, when a general term
24   follows a specific one, the general term should be understood as a reference to subjects akin to
25   the one with specific enumeration.” Norfolk & Western R. Co. v. Train Dispatchers, 499 U.S.
26   117, 129 (1991). Congress never intended Defendants to consider factors so far afield as


       PLAINTIFFS’ MOTION FOR                           14               ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
           Case 2:25-cv-00848-TL         Document 5          Filed 05/07/25     Page 17 of 30




 1   “giv[ing] preference to communities with marriage and birth rates higher than the national
 2   average,” prohibiting “imposi[tion] of vaccine and mask mandates,” or “local compliance or
 3   cooperation with Federal immigration enforcement” in their administration of the NEVI
 4   Formula Program. Brown Decl., Exh. 2 at § 5(f). Defendants’ reliance on factors Congress did
 5   not intend them to consider renders their action arbitrary and capricious.
 6          4.      Defendants acted “without observance of procedure required by law”
 7          Defendants’ actions further violate the APA because Defendants failed to observe the
 8   procedural safeguards required by law. See 5 U.S.C. § 706(2)(D) (prohibiting agency action
 9   taken “without observance of procedure required by law”). As set forth above, the IIJA has
10   specific procedures for the withholding or withdrawal of NEVI funds. See supra, Section II.B.
11   Defendants failed to follow these procedures.
12          5.      Defendants’ failure to follow the IIJA’s statutory mandate violates the
                    separation of powers
13
            In passing the IIJA, Congress provided a clear mandate to Defendants: So long as
14
     States meet the program requirements explicitly set forth in the IIJA—as Plaintiff States have
15
     all done here—Defendants must distribute NEVI funds in accordance with the IIJA’s
16
     prescribed formula. But Defendants have failed to follow this mandate, and in doing so, have
17
     violated the separation of powers prescribed by the U.S. Constitution.
18
            The President’s authority to act “must stem either from an act of Congress or from the
19
     Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952). And
20
     where, as here, “the President takes measures incompatible with the expressed or implied
21
     will of Congress, his power is at its lowest ebb, for then he can rely only upon his own
22
     constitutional powers minus any constitutional powers of Congress over the matter.”
23
     Youngstown, 343 U.S. at 637 (Jackson, J., concurring). In City and County of San Francisco
24
     v. Trump, 897 F.3d 1225, 1233 (9th Cir. 2018), the Ninth Circuit confronted a weaker form
25
     of the question presented here: In the absence of congressional authorization, can the
26


       PLAINTIFFS’ MOTION FOR                           15              ATTORNEY GENERAL OF WASHINGTON
                                                                            Environmental Protection Division
       PRELIMINARY INJUNCTION                                                 800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                       Seattle, WA 98104
                                                                                    (206) 464-7744
           Case 2:25-cv-00848-TL           Document 5          Filed 05/07/25      Page 18 of 30




 1   Executive Branch withhold duly appropriated federal funds? The Court answered this
 2   question with a resounding no, on the basis that such action violates separation of powers:
 3   “Aside from the power of veto, the President is without authority to thwart congressional will
 4   by canceling appropriations passed by Congress. Simply put, the President does not have
 5   unilateral authority to refuse to spend the funds. And[] the President may not decline to
 6   follow a statutory mandate or prohibition simply because of policy objections.” Id. at 1232
 7   (internal quotation marks and citations omitted). “[B]ecause Congress has the exclusive
 8   power to spend and has not delegated authority to the Executive . . . , the President’s ‘power
 9   is at its lowest ebb.’ And when it comes to spending, the President has none of ‘his own
10   constitutional powers’ to ‘rely’ upon.” Id. at 1233-34 (quoting Youngstown, 343 U.S. at 637);
11   rather, the President must “take Care that the Laws be faithfully executed.” U.S. Const. art.
12   II, § 3. This obligation to faithfully execute the law “refutes the idea that [the President] is to
13   be a lawmaker.” Youngstown, 343 U.S. at 587.
14           Indeed, courts have repeatedly struck down as unconstitutional efforts by the
15   Executive Branch to “redistribute or withhold properly appropriated funds in order to
16   effectuate its own policy goals.” City & County of S.F., 897 F.3d at 1235; City & County of
17   San Francisco v. Trump, No. 25-CV-01350-WHO, 2025 WL 1186310, at *2 (N.D. Cal. Apr.
18   24, 2025) (plaintiffs likely to prevail in demonstrating that the Trump administration violated
19   separation of powers in withholding federal funding); Washington v. Trump, No. 2:25-CV-
20   00244-LK, 2025 WL 659057, at *12 (W.D. Wash. Feb. 28, 2025) (plaintiffs likely to succeed
21   on merits of argument that executive orders barring the receipt of federal funds to medical
22   institutions that provide gender-affirming care to youth violated constitutional separation-of-
23   powers principles).
24           Just as the Ninth Circuit rejected the first Trump administration’s attempt to withhold
25   congressionally appropriated funds in violation of statutory directive, this Court should reject
26   Defendants’ attempt to withhold NEVI funds from Plaintiff States in violation of the clear


       PLAINTIFFS’ MOTION FOR                             16               ATTORNEY GENERAL OF WASHINGTON
                                                                               Environmental Protection Division
       PRELIMINARY INJUNCTION                                                    800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                          Seattle, WA 98104
                                                                                       (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25      Page 19 of 30




 1   language of the IIJA. Congress established the NEVI Formula Program and appropriated
 2   funds based on a precise formula for the express purpose of providing States with funding for
 3   EV charging infrastructure. 135 Stat. at 1422. The IIJA mandates the distribution of these
 4   funds and sets out the exclusive circumstances under which Defendants may withhold
 5   funds—none of which are present here—leaving Defendants no discretion to interfere with
 6   the statutorily established funding scheme. Id. If Defendants cannot withhold funds in the
 7   absence of congressional authorization, City & County of S.F., 897 F.3d at 1235, a fortiori
 8   they cannot do so in direct contravention of Congress’s specific prescriptions. Congress has
 9   also established a general procedure by which the Executive may propose to Congress to
10   either rescind or cancel funds, but that procedure does not authorize the President to take
11   unilateral action or defer funding on the bases asserted by Defendants here. See
12   Congressional Budget and Impoundment Control Act of 1974, 2 U.S.C. § 682 et seq. Thus,
13   by following President Trump’s directive to “pause the disbursement of funds appropriated
14   through the . . . [IIJA], including but not limited to funds for electric vehicle charging stations
15   made available through the [NEVI] Formula Program,” Exec. Order No. 14,154, 90 Fed.
16   Reg. at 8357, Defendants “claimed for [themselves] Congress’s exclusive spending power,”
17   while “also attempt[ing] to coopt Congress’s power to legislate,” City & County of S.F., 897
18   F.3d at 1234. That they cannot do. Absent congressional authorization, the Executive Branch
19   simply may not withhold congressionally appropriated funding.
20   B.     Plaintiff States Face Irreparable Harm Absent a Preliminary Injunction
21          Plaintiff States are “likely to suffer irreparable harm in the absence of preliminary
22   relief.” East Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 668 (9th Cir. 2021). Irreparable
23   harm is “harm for which there is no adequate legal remedy,” i.e., it is not compensable with
24   money damages. Id. at 677 (quoting Ariz. Dream Act Coal. v. Brewer, 757 F.3d 1053, 1068
25   (9th Cir. 2014)). Thus, economic harm is irreparable “where parties cannot typically recover
26   monetary damages flowing from their injury—as is often the case in APA cases.” Id. (citing


       PLAINTIFFS’ MOTION FOR                            17               ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25      Page 20 of 30




 1   California v. Azar, 911 F.3d 558, 581 (9th Cir. 2018)). Likewise, “[i]ntangible injuries,” such
 2   as reputational harm or loss of goodwill, may establish irreparable harm where supported by
 3   evidence. Id. (citing Brewer, 757 F.3d at 1068); adidas America, Inc. v. Skechers USA, Inc.,
 4   890 F.3d 747, 756-7 (2018)).
 5          Here, Defendants’ actions to revoke State Plans and categorically withhold
 6   appropriated funds will irreparably harm Plaintiff States. First, Defendants’ actions interrupt
 7   and impede Plaintiff States’ ongoing programs to deploy EV charging infrastructure, thwarting
 8   policies these States adopted to combat climate change, reduce harmful pollution, broaden
 9   access to EVs, and create jobs. Second, Defendants’ abrupt and arbitrary actions increase
10   Plaintiff States’ administrative burdens in implementing the NEVI Formula Program and
11   interfere with their ability to budget, plan, and serve their residents. Neither type of harm is
12   compensable with money damages. Nor are these harms merely likely or imminent; they
13   already have occurred and, absent entry of an injunction, will continue. Where, as here,
14   irreparable injury to Plaintiff States is real and immediate, the Court should enter an injunction
15   to preserve the status quo. See Flathead-Lolo-Bitterroot Citizen Task Force, 98 F.4th at 1191.
16          1.      Harm to Plaintiff States’ EV infrastructure programs
17          Absent injunctive relief, Defendants’ actions will cause significant irreparable harm by
18   arresting Plaintiff States’ programs created to further their sovereign interests in protecting
19   residents’ welfare, their economies, and the environment. See Kansas v. United States, 249
20   F.3d 1213, 1227-28 (10th Cir. 2001) (threats to State’s public policy and sovereign interests
21   constitute irreparable harm); New York v. Trump, 2025 WL 715621, at *14 (freeze on federal
22   financial assistance caused irreparable harm to States by impeding public health,
23   transportation, and environmental programs); New York v. Trump, 490 F. Supp. 3d 225, 243-44
24   (D.D.C. 2020) (federal actions impeding States’ public health programs caused irreparable
25   harm); New York v. U.S. Dep’t of Homeland Sec., 475 F. Supp. 3d 208, 226-27 (S.D.N.Y.
26   2020) (same). And where Congress has appropriated funds to support States’ effectuation of


       PLAINTIFFS’ MOTION FOR                            18               ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25     Page 21 of 30




 1   those programs, the denial of that statutory entitlement is itself irreparable harm. See Endo Par
 2   Innovation Co., LLC v. Becerra, No. 24-999, 2024 WL 2988904, at *7 (D.D.C. Jun. 10, 2024)
 3   (“[A] clear statutory entitlement is not merely economic harm, and its loss may be sufficiently
 4   irreparable to justify emergency injunctive relief.”).
 5          Plaintiff States have each adopted ambitious plans to expand EV charging
 6   infrastructure to mitigate climate change; reduce smog, air toxics, and other harmful vehicle
 7   pollution; and realize the significant economic benefits of broad access to EVs, including job
 8   creation, increased domestic manufacturing, and consumer savings. Collins-Worachek Decl.
 9   ¶5; de Alba Decl. ¶¶13-15; Hastings Decl. ¶¶4-6; Irvin Decl. ¶5; Kearns Decl. ¶¶5-9, 15;
10   Meredith Decl. ¶¶7-17, 38, 45; Patel Decl. ¶4; Pietz Decl. ¶¶4-6; Pines Decl. ¶¶5-6; Ruder
11   Decl. ¶¶7, 17; Shishido Decl. ¶5; Toor Decl. ¶¶32-36; Valdez Decl. ¶19; Ward Decl. ¶5.
12   Congress, with the support of bipartisan majorities, decided to underwrite States’ EV
13   infrastructure build-outs with the NEVI Formula Program. And in reliance on that support,
14   Plaintiff States developed deployment plans, sought out private partnerships, conducted public
15   outreach, committed state tax dollars, and hired or redirected existing staff resources to carry
16   out the NEVI Formula Program. Collins-Worachek Decl. ¶9; de Alba Decl. ¶¶7, 10; Hastings
17   Decl. ¶19; Irvin Decl. ¶¶6, 9, 12, 19; Kearns Decl. ¶¶14-15; Kelly Decl. ¶¶7, 17; Meredith
18   Decl. ¶¶22-23; Nelson Decl. ¶¶5, 10, 13, 23; Pietz Decl. ¶¶9, 16, 24; Pines Decl. ¶9; Ruder
19   Decl. ¶¶6, 9; Shishido Decl. ¶6, 9; Ward Decl. ¶¶6, 9, 12, 19. All Plaintiff States are in the
20   midst of award and contracting processes to distribute NEVI funds to projects; Plaintiffs
21   Colorado, California, Maryland, and Wisconsin have entered into contracts with awardees; and
22   several California and Maryland EV charging projects have moved or are about to move into
23   construction phase. Collins-Worachek Decl. ¶¶12, 19-20; de Alba Decl. ¶¶10, 17-18, 22;
24   Hastings Decl. ¶12; Irvin Decl. ¶12, Kearns Decl. ¶¶18, 25; Meredith Decl. ¶¶29, 36; Nelson
25   Decl. ¶¶6-7; Patel Decl. ¶¶12, 19; Pietz Decl. ¶¶15, 25-29; Pines Decl. ¶¶13-14, 21; Ruder
26   Decl. ¶9; Shishido Decl. ¶12, 19; Toor Decl. ¶¶10-11; Ward Decl. ¶¶12, 19.


       PLAINTIFFS’ MOTION FOR                            19              ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                     (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25      Page 22 of 30




 1          But Defendants’ actions have halted these processes and threaten to scuttle projects—or
 2   even entire state programs—altogether. First, the unavailability of NEVI funds prevents States
 3   from proceeding with solicitations and awarding funds to projects. Collins-Worachek Decl.
 4   ¶¶19-20; de Alba Decl. ¶¶22-23; Kearns Decl. ¶¶18, 25; Kelly Decl. ¶21; Meredith Decl. ¶36;
 5   Nelson Decl. ¶23; Patel Decl. ¶19; Pietz Decl. ¶30; Pines Decl. ¶¶21-22; Ruder Decl. ¶11;
 6   Shishido Decl. ¶19, 20; Valdez Decl. ¶18; Ward Decl. ¶19. That harm is uncompensable. Even
 7   if Defendants eventually return to distributing funds as required, that will not cure the delay
 8   and loss of industry confidence in States’ NEVI implementation programs. de Alba Decl. ¶¶18-
 9   24; Hastings Decl. ¶20; Kearns Decl. ¶26; Meredith Decl. ¶40; Patel Decl. ¶20; Pietz Decl.
10   ¶29; Pines Decl. ¶¶21-22; Ruder Decl. ¶¶13-15; Toor Decl. ¶38. And because a robust public
11   charging network is integral to EV adoption, delay means more unrecoverable greenhouse gas
12   pollution, air toxics inhaled, and unrealized job creation in the interim. de Alba Decl. ¶¶13, 15;
13   Irvin Decl. ¶20; Kearns Decl. ¶26; Meredith Decl. ¶¶38, 41-46; Patel Decl. ¶20; Ruder Decl.
14   ¶¶13, 16-17; Toor Decl. ¶¶40-41; see also Pietz Decl. ¶¶28-30 (loss of 75% charging stations
15   Oregon planned to construct with NEVI funds, including two to three corridors connecting
16   rural Oregon to charging network). For many Plaintiff States, NEVI funding is an irreplaceable
17   majority of their EV charging infrastructure programs, such that Defendants’ actions arrest
18   their programs altogether. Collins-Worachek Decl. ¶4 (Wisconsin’s EV infrastructure program
19   “rel[ies] completely on federal funding” and a private cost-share); Patel Decl. ¶19 (New Jersey
20   unable to execute an FHWA approved contract with an awardee “because there are no
21   alternative funding sources available”); Pietz Decl. ¶28; Pines Decl. ¶4.
22          Second, for already-awarded projects, the delay and uncertainty around NEVI funds
23   exposes them to rising costs; loss of site hosts, financing, and other critical partners; and
24   similar opportunity costs. de Alba Decl. ¶¶16-21; Kearns Decl. ¶26; Pines Decl. ¶25-26; Ruder
25   Decl. ¶¶11, 13. In turn, those risks have caused and will continue to cause harm to States’
26   programs as awardees and applicants postpone or cancel projects or withdraw from


       PLAINTIFFS’ MOTION FOR                            20               ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5         Filed 05/07/25     Page 23 of 30




 1   solicitations. de Alba Decl. ¶¶16-23; Kearns Decl. ¶26; Pietz Decl. ¶¶30-31; Ruder Decl. ¶¶14-
 2   15. The loss of these critical partners and the overall chilling effect Defendants’ actions have
 3   on States’ EV charging infrastructure build-outs cannot be cured by money damages. See also
 4   East Bay Sanctuary Covenant v. Biden, 993 F.3d at 677 (damages not available for APA
 5   claims). For similar reasons, federal district courts have repeatedly found irreparable harm to
 6   States from indefinite pauses on federal financial assistance. See, e.g., New York v. Trump,
 7   2025 WL 715621, at *13; Washington v. Trump, 2025 WL 659057, at *26; Pacito, 2025 WL
 8   655075, at *23; see also Maine v. Dep’t of Agriculture, No. 1:25-cv-00131, 2025 WL
 9   1088946, at *26-27 (D. Me. Apr. 11, 2025) (granting temporary restraining order).
10          2.      Increased administrative burden to states
11          The budgetary confusion and uncertainty constitute further irreparable harm. Courts
12   have recognized that financial and operational harms to state agencies caused by abrupt
13   interruptions to federal funding can constitute irreparable harm. See, e.g., New York v. Trump,
14   2025 WL 715621, at *15 (finding irreparable harm “resulting from the chaos and uncertainty”
15   arising out of federal freeze of Inflation Reduction Act and IIJA funds); Michigan v. DeVos,
16   481 F. Supp. 3d 984, 995-96 (N.D. Cal. 2020) (irreparable harm from “the financial and
17   operational harms” to state agencies from federal actions); County of Santa Clara v. Trump,
18   250 F. Supp. 3d 497, 537 (N.D. Cal. 2017) (uncertainty prompted by withholding federal funds
19   caused irreparable harm by “interfer[ing] with the Counties’ ability to budget, plan for the
20   future, and properly serve their residents”).
21          Plaintiff States have suffered similar financial and operational harms here. Since the
22   FHWA Letter, Plaintiff States’ agencies have experienced confusion and budgetary uncertainty
23   as their access to fund to which they are legally entitled has been cut off. de Alba Decl. ¶24;
24   Kearns Decl. ¶¶25-26; Kelly Decl. ¶¶21-22; Pines Decl. ¶22. Plaintiff States face an increased
25   burden in administering the NEVI Formula Program, for example, from increased staff time
26   spent fielding industry inquiries, redesigning paused solicitations, or reconfiguring budgets, de


       PLAINTIFFS’ MOTION FOR                           21              ATTORNEY GENERAL OF WASHINGTON
                                                                            Environmental Protection Division
       PRELIMINARY INJUNCTION                                                 800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                       Seattle, WA 98104
                                                                                    (206) 464-7744
           Case 2:25-cv-00848-TL           Document 5          Filed 05/07/25      Page 24 of 30




 1   Alba Decl. ¶24; Kearns Decl. ¶26; Ward Decl. ¶19, or redeveloping State Plans, after having
 2   invested substantial resources in timely creating and submitting their original Plans. Collins-
 3   Worachek Decl. ¶20; Kearns Decl. ¶25; Kelly Decl. ¶17; Pietz Decl. ¶17. Even if these extra
 4   staff hours are recoverable as eligible program expenses, the increase in administrative costs—
 5   in addition to other cost increases from delayed construction—necessarily decreases the NEVI
 6   funds available for building EV chargers. Pines Decl. ¶26. Moreover, the interference with
 7   Plaintiff States’ ability to budget, plan for the future, and properly serve their residents is itself
 8   an intangible, uncompensable harm. County of Santa Clara, 250 F. Supp. 3d at 537; see, e.g.,
 9   Meredith Decl. ¶37 (Washington agency reassigned one full-time employee and has been
10   unable to hire a second due to withholding of NEVI funds). Likewise, the suspended
11   solicitations, deferred finalization of awards, and inability to obligate committed NEVI funds
12   for awardees all cause reputational harm to States’ agencies, which makes it more difficult for
13   them to attract industry partners for concurrent or future solicitations in their EV infrastructure
14   programs. de Alba Decl. ¶¶22-23; Kearns Decl. ¶26; Meredith Decl. ¶¶39-40; Pines Decl. ¶23;
15   Pietz Decl. ¶31; Ruder Decl. ¶¶14-15; see East Bay Sanctuary Covenant, 993 F.3d at 677
16   (intangible injuries to reputation and goodwill support irreparable harm showing).
17   C.      The Balance of Equities and Public Interest Factors Strongly Favor Entry of a
             Preliminary Injunction
18
             Where the government is a party, the Court’s inquiry into the balance of the equities
19
     and the public interest merges. Drakes Bay Oyster Co. 747 F.3d at 1092 (9th Cir. 2014).
20
     When considering whether to grant a preliminary injunction, the Court “must balance the
21
     competing claims of injury and consider the effect of granting or withholding the requested
22
     relief, paying particular regard to the public consequences.” Winter, 555 U.S. at 24; see
23
     also N. Cheyenne Tribe v. Norton, 503 F.3d 836, 843-44 (9th Cir. 2007).
24
             Here, the balance of equities and public interest factors strongly favor entry of a
25
     preliminary injunction, for three reasons.
26


       PLAINTIFFS’ MOTION FOR                             22               ATTORNEY GENERAL OF WASHINGTON
                                                                               Environmental Protection Division
       PRELIMINARY INJUNCTION                                                    800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                          Seattle, WA 98104
                                                                                       (206) 464-7744
           Case 2:25-cv-00848-TL           Document 5          Filed 05/07/25     Page 25 of 30




 1          First, Plaintiff States’ high likelihood of success on the merits is a strong indicator
 2   that a preliminary injunction would serve the public interest. League of Women Voters of
 3   U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). There is a substantial public interest “in
 4   having governmental agencies abide by the federal laws that govern their existence and
 5   operations.” Id. (internal quotation omitted). This Court recently reiterated that “[t]he rule of
 6   law is secured by a strong public interest that the laws ‘enacted by their representatives are
 7   not imperiled by executive fiat.’” Washington v. Trump, 2025 WL 659057, at *27 (quoting
 8   East Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 779 (9th Cir. 2018)). And where a
 9   statute “sets out a categorical requirement”—like the IIJA’s requirements directing NEVI
10   funds to States’ EV infrastructure programs—the equities favor an injunction ensuring
11   compliance with that statute because “Congress has already done the relevant balancing of
12   interests.” N.D. v. Reykdal, 102 F.4th 982, 996 (9th Cir. 2024). Similarly, Plaintiff States’
13   likelihood of success on the merits of their constitutional claims tips the merged third and
14   fourth factors “decisively in [their] favor . . . [b]ecause ‘all citizens have a stake in upholding
15   the Constitution.’” Baird v. Bonta, 81 F.4th 1036, 1042 (9th Cir. 2023) (quoting Preminger v.
16   Principi, 422 F.3d 815, 826 (9th Cir. 2005)); see also Am. Beverage Ass’n v. City & County
17   of San Francisco, 916 F.3d 749, 758 (9th Cir. 2019) (en banc) (a showing of serious
18   questions going to the merits of a constitutional claim “compels a finding” that the balance of
19   hardships and the public interest favor a preliminary injunction).
20          Second, the harm to the public interest from Defendants’ unlawful actions is
21   egregious. Defendants’ abrupt revocation of State Plans and categorical withholding of
22   approximately $1 billion of their NEVI funds have forced Plaintiff States to interrupt their
23   planned NEVI Formula Program work and suspend in-progress award and contracting
24   processes, and project partners have stopped or postponed construction or abandoned States’
25   NEVI-funded program altogether. See supra, Section IV.B. In short, without preliminary
26   relief, Defendants will succeed in effectively terminating the NEVI Formula Program.


       PLAINTIFFS’ MOTION FOR                             23              ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL          Document 5          Filed 05/07/25      Page 26 of 30




 1          So long as Defendants continue to withhold NEVI funds, Plaintiff States will be
 2   unable to proceed with—and the public will not benefit from—full implementation of their
 3   plans to deploy EV charging infrastructure. Without the widespread adoption of EVs
 4   anticipated in each Plaintiff State, Plaintiff States will be unable to reduce vehicle emissions
 5   to improve public health, carry out their climate change policies, and realize the benefits of
 6   widespread EV adoption for their economies and residents. See supra, Section IV.B. And
 7   with each day Defendants unlawfully withhold funds, the chilling effect of funding
 8   uncertainties on industry increases; thus, the harms to Plaintiff States and their residents—the
 9   public—become increasingly detrimental. See supra, Section IV.B.
10          Third, Defendants suffer no hardship from sending appropriated and apportioned
11   federal dollars to Plaintiff States. The purported objective of Defendants’ revocation of State
12   Plans and withholding of funds is to align NEVI Formula Program Guidance with the new
13   administration’s policy priorities. But as discussed in Section IV.A, supra, those new priorities
14   cannot affect States’ apportionments or force changes to their State Plans. In the IIJA, Congress
15   left no discretion for Defendants to revise States’ apportionment of NEVI funds, or to direct
16   those funds be spent on anything but EV charging infrastructure, with a priority for building
17   out alternative fuel corridors. 135 Stat. at 1422-23. Because Defendants’ changed priorities—
18   which, under the requested injunction, they are free to continue to develop—cannot support
19   potential redirection of NEVI funds in the first place, Defendants can suffer no harm from
20   being unable to categorically withhold those funds.
21   D.     Plaintiff States Are Entitled to Preliminary Relief
22          Considering the serious and irreparable harm resulting from Defendants’ unlawful
23   actions, Plaintiff States are entitled to a preliminary injunction to preserve the status quo ad
24   litem—not just the situation before Plaintiff States filed the instant matter, but “the last
25   uncontested status which preceded the pending controversy.” Flathead-Lolo-Bitterroot
26   Citizen Task Force, 98 F.4th at 1191 (citation omitted). Accordingly, Plaintiff States


       PLAINTIFFS’ MOTION FOR                            24               ATTORNEY GENERAL OF WASHINGTON
                                                                              Environmental Protection Division
       PRELIMINARY INJUNCTION                                                   800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                         Seattle, WA 98104
                                                                                      (206) 464-7744
           Case 2:25-cv-00848-TL         Document 5          Filed 05/07/25     Page 27 of 30




 1   respectfully request that Defendants be enjoined from (1) categorically “suspending” or
 2   revoking Plaintiff States’ State Plans approvals; (2) withholding or withdrawing NEVI
 3   Formula Program funds for any reason not set forth in the IIJA or applicable FHWA
 4   regulations, and without following the IIJA’s procedural requirements, including by refusing
 5   to review and process requests for authorization to obligate funds; and (3) effectuating a
 6   categorical suspension or termination of the NEVI Formula Program for Plaintiff States
 7   through any other means.
 8                                       V.      CONCLUSION

 9          Plaintiff States respectfully request that the Court grant their motion.

10                                                     I certify that this memorandum contains
                                                       8290 words, in compliance with the Local
11                                                     Civil Rules.

12                                                     NICHOLAS W. BROWN
                                                       Attorney General for the State of Washington
13
                                                       s/ Caitlin M. Soden
14                                                     CAITLIN M. SODEN, WSBA # 55457
                                                       LEAH A. BROWN, WSBA # 45803
15                                                     TERA HEINTZ, WSBA #54921
                                                       CRISTINA SEPE, WSBA #53609
16                                                     Assistant Attorneys General
                                                       800 Fifth Avenue, Suite 2000
17                                                     Seattle, Washington 98104
                                                       (206) 464-7744
18                                                     caitlin.soden@atg.wa.gov
                                                       leah.brown@atg.wa.gov
19                                                     tera.heintz@atg.wa.gov
                                                       cristina.sepe@atg.wa.gov
20                                                     Attorneys for the State of Washington

21    ROB BONTA                                        PHILIP J. WEISER
      Attorney General for the State of California     Attorney General for the State of Colorado
22
      By: /s/ Theodore A. McCombs                      By: /s/ Carrie Noteboom
23    THEODORE A. MCCOMBS, SBN 316243*                 CARRIE NOTEBOOM, CBA # 52910*
      Deputy Attorney General                          Assistant Deputy Attorney General
24    ROBERT SWANSON, SBN 295159*                      DAVID MOSKOWITZ, CBA # 61336*
      Acting Supervising Deputy Attorney General       Deputy Solicitor General
25    NATALIE COLLINS, SBN 338348*                     JESSICA L. LOWREY, CBA # 45158*
      ELIZABETH JONES, SBN 326118*                     First Assistant Attorney General
26    ELIZABETH SONG, SBN 326616*                      SARAH WEISS, NYSBA # 4898805*


       PLAINTIFFS’ MOTION FOR                           25              ATTORNEY GENERAL OF WASHINGTON
                                                                            Environmental Protection Division
       PRELIMINARY INJUNCTION                                                 800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                       Seattle, WA 98104
                                                                                    (206) 464-7744
          Case 2:25-cv-00848-TL           Document 5        Filed 05/07/25     Page 28 of 30




 1   Deputy Attorneys General                      Senior Assistant Attorney General
     (619) 738-9003                                Ralph L. Carr Judicial Center
 2   theodore.mccombs@doj.ca.gov                   1300 Broadway, 10th Floor
                                                   Denver, CO 80203
 3   Attorneys for the State of California         (720) 508-6000
                                                   carrie.noteboom@coag.gov
 4                                                 david.moskowitz@coag.gov
                                                   jessica.lowrey@coag.gov
 5                                                 sarah.weiss@coag.gov
                                                   FAX: (720) 508-6040
 6
                                                   Attorneys for the State of Colorado
 7

 8   KRISTIN K. MAYES                              KATHLEEN JENNINGS
     Attorney General for the State of Arizona     Attorney General of the State of Delaware
 9
     By: /s/ Lauren Watford                        By: /s/ Vanessa L. Kassab
10   LAUREN WATFORD, SBA # 037346**                IAN R. LISTON, DSBA # 5507**
     Assistant Attorney General                    Director of Impact Litigation
11   Arizona Attorney General’s Office             RALPH K. DURSTEIN III, DSBA # 0912**
     2005 North Central Avenue                     VANESSA L. KASSAB, DSBA # 5612**
12   Phoenix, Arizona 85004                        Deputy Attorneys General
     (602) 542-3333                                Delaware Department of Justice
13   Lauren.Watford@azag.gov                       820 N. French Street
                                                   Wilmington, DE 19801
14   Attorneys for the State of Arizona            (302) 683-8899
                                                   vanessa.kassab@delaware.gov
15
                                                   Attorneys for the State of Delaware
16

17   BRIAN L. SCHWALB                              ANNE E. LOPEZ
     Attorney General                              Attorney General for the State of Hawaiʻi
18
     /s/ Lauren Cullum                             By: /s/ Kalikoʻonālani D. Fernandes
19   LAUREN CULLUM, DCB # 90009436**               DAVID D. DAY, HSBA # 9427**
     Special Assistant Attorney General            Special Assistant to the Attorney General
20   Office of the Attorney General                KALIKOʻONĀLANI D. FERNANDES,
     for the District of Columbia                  HSBA # 9964**
21   400 6th Street, N.W., 10th Floor              Solicitor General
     Washington, D.C. 20001                        425 Queen Street
22   Email: lauren.cullum@dc.gov                   Honolulu, HI 96813
                                                   (808) 586-1360
23   Attorneys for the District of Columbia        david.d.day@hawaii.gov
                                                   kaliko.d.fernandes@hawaii.gov
24
                                                   Attorneys for the State of Hawaiʻi
25

26


      PLAINTIFFS’ MOTION FOR                           26              ATTORNEY GENERAL OF WASHINGTON
                                                                           Environmental Protection Division
      PRELIMINARY INJUNCTION                                                 800 Fifth Avenue STE 2000
      -- No. 2:25-cv-000848                                                       Seattle, WA 98104
                                                                                   (206) 464-7744
          Case 2:25-cv-00848-TL            Document 5        Filed 05/07/25     Page 29 of 30




 1   KWAME RAOUL                                    ANTHONY G. BROWN
     Attorney General for the State of Illinois     Attorney General for the State of Maryland
 2
     /s/ Jason E. James                             By: /s/ Steven J. Goldstein
 3   JASON E. JAMES, ISBA ARDC #                    STEVEN J. GOLDSTEIN, MSBA #
     6300100**                                      1612130206**
 4   Assistant Attorney General                     Assistant Attorney General
     Office of the Attorney General                 Office of the Attorney General of Maryland
 5   Environmental Bureau                           200 Saint Paul Place, 20th Floor
     201 W. Pointe Drive, Suite 7                   Baltimore, MD 21202
 6   Belleville, IL 62226                           (410) 576-6414
     Phone: (217) 843-0322                          sgoldstein@oag.state.md.us
 7   Email: jason.james@ilag.gov
                                                    Attorneys for the State of Maryland
 8   Attorneys for the State of Illinois
 9
     KEITH ELLISON                                  MATTHEW J. PLATKIN
10   Attorney General for the State of Minnesota    Attorney General for the State of New Jersey
11   s/ Peter N. Surdo                              /s/ Morgan L. Rice
     PETER N. SURDO, MSBA # 339015**                MORGAN L. RICE, NJSBA Bar #
12   Special Assistant Attorney General             018782012**
     Environmental and Natural Resources            JUSTINE M. LONGA, NJSBA Bar #
13   Division                                       305062019**
     445 Minnesota Street, Suite 1800               Deputy Attorneys General
14   Saint Paul, Minnesota 55101                    RACHEL U. DOOBRAJH, NJSBA #
     651-757-1061                                   020952002**
15   peter.surdo@ag.state.mn.us                     Assistant Attorney General
                                                    Office of the Attorney General
16   Attorneys for the State of Minnesota           25 Market Street
                                                    Trenton, NJ 08625
17                                                  (609) 696-4527
                                                    Morgan.Rice@law.njoag.gov
18                                                  Justine.Longa@law.njoag.gov
                                                    Rachel.Doobrajh@law.njoag.gov
19
                                                    Attorneys for the State of New Jersey
20

21   RAÚL TORREZ                                    LETITIA JAMES
     Attorney General for the State of New          Attorney General of the State of New York
22   Mexico
                                                    /s/ Kyle Burns
23   /s/ Amy Senier                                 KYLE BURNS, NYSBA # 5589940**
     AMY SENIER, MBA # 672912**                     Environmental Protection Bureau
24   Senior Counsel                                 28 Liberty Street
     New Mexico Department of Justice               New York, NY 10005
25   P.O. Drawer 1508                               (212) 416-8451
     Santa Fe, NM 87504-1508
26   505-490-4060                                   Attorneys for the State of New York


      PLAINTIFFS’ MOTION FOR                            27              ATTORNEY GENERAL OF WASHINGTON
                                                                            Environmental Protection Division
      PRELIMINARY INJUNCTION                                                  800 Fifth Avenue STE 2000
      -- No. 2:25-cv-000848                                                        Seattle, WA 98104
                                                                                    (206) 464-7744
           Case 2:25-cv-00848-TL         Document 5        Filed 05/07/25     Page 30 of 30




 1    asenier@nmdoj.gov
 2    Attorneys for the State of New Mexico
 3
      DAN RAYFIELD                                PETER F. NERONHA
 4    Attorney General of the State of Oregon     Attorney General of Rhode Island
 5    /s/ Sarah Van Loh                           /s/ Nicholas M. Vaz
      SARA VAN LOH OSB # 044398**                 NICHOLAS M. VAZ, RIBA # 9501**
 6    Senior Assistant Attorney General           Special Assistant Attorney General
      100 SW Market Street                        Office of the Attorney General
 7    Portland, Oregon 97201                      Environmental and Energy Unit
      Tel (971) 673-1880                          150 South Main Street
 8    Fax (971) 673-5000                          Providence, Rhode Island 02903
      Sara.VanLoh@doj.oregon.gov                  (401) 274-4400 ext. 2297
 9                                                nvaz@riag.ri.gov
      Attorneys for State of Oregon
10                                                Attorneys for State of Rhode Island
11
      CHARITY R. CLARK                            JOSHUA L. KAUL
12    Attorney General of the State of Vermont    Attorney General for the State of Wisconsin
13    /s/ Jonathan T. Rose                        s/ Tressie K. Kamp
      JONATHAN T. ROSE, VBA # 4415**              TRESSIE KAMP, WI SBN # 1082298**
14    Solicitor General                           Assistant Attorney General
      Office of the Vermont Attorney General      Public Protection Unit
15    109 State Street                            17 West Main Street
      Montpelier, VT 05609                        Madison, Wisconsin 53703
16    (802) 828-3171                              608-266-9595
      Jonathan.rose@vermont.gov                   tressie.kamp@wisdoj.gov
17
      Attorneys for Plaintiff State of Vermont    Attorneys for Plaintiff State of Wisconsin
18

19   *pro hac vice application pending
     **pro hac vice application forthcoming
20

21

22

23

24

25

26


       PLAINTIFFS’ MOTION FOR                         28              ATTORNEY GENERAL OF WASHINGTON
                                                                          Environmental Protection Division
       PRELIMINARY INJUNCTION                                               800 Fifth Avenue STE 2000
       -- No. 2:25-cv-000848                                                     Seattle, WA 98104
                                                                                  (206) 464-7744
